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POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT


CASE NAME:
      Dougherty's Pharmacy Inc.


CASE NUMBER:




The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
obligations, etc Accounts'with restricted funds should be identified by placing an asterisk next to the account number
Attach additional sheets for each bank reconcilement if necessary


QUARTER ENDING: 3/31/2020
      Bank Reconciliations                                     Account #1                           Account #2                       Account #3              Account #4            Account #5             Account #6
 A    Bank                                                FNB of Omaha                       ProsperityBank                      ProsperityBank         ProsperityBank       ProsperityBank         RegionsBank
                                                                                                                                                                                                                                   TOTAL
 B    Account Number                                             3895                                 4224                               7812                      4232                 7762                   1502
 C    Purpose (Type)                                          Commercial                       Commercial                           Commercial            BoardAccount              LTC                 Commercial
 1    Balance Per Bank Statement                                              $0.00                        $0.00                                $0.00               $8,500.00                 $0.00                    $0.00        $8,500.00
 2    Add: Total Deposits Not Credited                                                                                                                                                                                         +        $0.00
 3    Subtract: Outstanding Checks                                                                                                                                                                                                      $0.00
 4    Other Reconciling Items                                                                                                                                                                                                           $0.00
 5    Month End Balance Per Books                                             $0.00                               $0.00                           $0.00             $8,500.00                   $0.00                  $0.00 =      $8,500.00
                                                                                                                                                                                                                                                Case 19-32841-hdh11 Doc 236 Filed 12/23/20




 6    Number of Last Check Written
 7    Cash: Currency on Hand                                                                                                                                                                                                   +        $0.00
 8    Total Cash - End Of Month                                               $0.00                               $0.00                           $0.00             $8,500.00                   $0.00                  $0.00 =      $8,500.00




      CASH IN:
      INVESTMENT ACCOUNTS
                                                   Date of                             Type of
      Bank, Account Name & Number                  Purchase                            Instrument                                                                                                                                  Value
 9                                                                                                                                                                                                                             +
 10                                                                                                                                                                                                                            +
 11                                                                                                                                                                                                                            +
 12                                                                                                                                                                                                                            +
                                                                                                                                                                                                                                                Entered 12/23/20 16:11:55




 13 Total Cash Investments                                                                                                                                                                                                     =        $0.00
 14 TOTAL CASH                                     LINE 8 - PLUS LINE 13 = LINE 14 ****                                                                                                                                             $8,500.00
                                                                                                                                                                                                                                   ****
 **** Must tie to Line 4, Quarterly Operating Report
                                                                                                                                                                                                                                                Page 3 of 4
POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT


CASE NAME:
      Dougherty's Pharmacy Inc.


CASE NUMBER:




The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
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Attach additional sheets for each bank reconcilement if necessary


QUARTER ENDING: 12/31/2019
      Bank Reconciliations                                     Account #1                           Account #2                       Account #3            Account #4              Account #5           Account #6
 A    Bank                                                FNB of Omaha                       ProsperityBank                      ProsperityBank       ProsperityBank         ProsperityBank       RegionsBank
                                                                                                                                                                                                                                 TOTAL
 B    Account Number                                             3895                                 4224                               7812                    4232                   7762                 1502
 C    Purpose (Type)                                          Commercial                       Commercial                           Commercial          BoardAccount                LTC               Commercial
 1    Balance Per Bank Statement                                              $0.00                    $5,533.00                            $8,144.57                 $0.00               $2,557.91                  $0.00       $16,235.48
 2    Add: Total Deposits Not Credited                                                                                                                                                                                       +        $0.00
 3    Subtract: Outstanding Checks                                                                                                                                                                                                    $0.00
 4    Other Reconciling Items                                                                                                                                                                                                         $0.00
 5    Month End Balance Per Books                                             $0.00                         $5,533.00                       $8,144.57                   $0.00             $2,557.91                  $0.00 =     $16,235.48
                                                                                                                                                                                                                                              Case 19-32841-hdh11 Doc 236 Filed 12/23/20




 6    Number of Last Check Written
 7    Cash: Currency on Hand                                                                                                                                                                                                 +        $0.00
 8    Total Cash - End Of Month                                               $0.00                         $5,533.00                       $8,144.57                   $0.00             $2,557.91                  $0.00 =     $16,235.48




      CASH IN:
      INVESTMENT ACCOUNTS
                                                   Date of                             Type of
      Bank, Account Name & Number                  Purchase                            Instrument                                                                                                                                Value
 9                                                                                                                                                                                                                           +
 10                                                                                                                                                                                                                          +
 11                                                                                                                                                                                                                          +
 12                                                                                                                                                                                                                          +
                                                                                                                                                                                                                                              Entered 12/23/20 16:11:55




 13 Total Cash Investments                                                                                                                                                                                                   =        $0.00
 14 TOTAL CASH                                     LINE 8 - PLUS LINE 13 = LINE 14 ****                                                                                                                                          $16,235.48
                                                                                                                                                                                                                                 ****
 **** Must tie to Line 4, Quarterly Operating Report
                                                                                                                                                                                                                                              Page 4 of 4
